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                         UNITED STATES OF AMERICA
                    BEFORE THE FEDERAL TRADE COMMISSION

COMMISSIONERS:               Edith Ramirez, Chairwoman                            1610020
                             Maureen K. Ohlhausen
                             Terrell McSweeny


In the Matter of

       Superior Plus Corp.
                                                        Docket No. 9371
             a corporation,

              And                                      PUBLIC VERSION
       Canexus Corporation
             a corporation.


                                        COMPLAINT

        Pursuant to the provisions of the Federal Trade Commission Act (“FTC Act”), and by the
virtue of the authority vested in it by the FTC Act, the Federal Trade Commission
(“Commission”), having reason to believe that Respondents Superior Plus Corp. (“Superior”)
and Canexus Corporation (“Canexus”) have executed an acquisition agreement in violation of
Section 5 of the FTC Act, 15 U.S.C. § 45, which if consummated would violate Section 7 of the
Clayton Act, as amended, 15 U.S.C. § 18, and Section 5 of the FTC Act, and it appearing to the
Commission that a proceeding by it in respect thereof would be in the public interest, hereby
issues its complaint pursuant to Section 5(b) of the FTC Act, 15 U.S.C. § 45(b), and
Section 11(b) of the Clayton Act, 15 U.S.C. § 21(b), stating its charges as follows:

                                I.      NATURE OF THE CASE

1.     Superior’s proposed acquisition of Canexus (the “Acquisition”) would combine two of
       the three major producers of sodium chlorate in North America. Sodium chlorate is a
       commodity chemical whose primary use is for bleaching wood pulp for paper, tissues,
       and other products. Superior and Canexus account for more than 50 percent of the
       sodium chlorate production capacity in North America.

2.     In Superior’s own words, the North American sodium chlorate market is an “oligopoly”
       that is “dominated by a small number of players.” Absent injunctive relief, two firms,
       Superior and AkzoNobel (“Akzo”), will control approximately 80 percent of North
       American sodium chlorate capacity, resulting in post-Acquisition market shares that
       easily exceed the market concentration levels presumed likely to result in anticompetitive
       effects under the Federal Trade Commission and U.S. Department of Justice Horizontal
       Merger Guidelines (“Merger Guidelines”) and under the relevant case law.

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3.   The Acquisition would substantially lessen competition in the market for sodium
     chlorate. First, by placing more than 50 percent of all production capacity into the hands
     of Superior—a company long focused on careful capacity management as a means of
     maintaining profitability—the Acquisition would increase the likelihood of future
     anticompetitive output reductions to increase price. Second, by consolidating more than
     80 percent of total production capacity in the hands of the two most disciplined
     producers, and by removing Canexus, a uniquely disruptive, low-cost competitor, the
     Acquisition would increase the likelihood of coordination in an already vulnerable
     market.

4.   New entry or expansion by existing producers would not be timely, likely, or sufficient to
     counteract the anticompetitive effects of the acquisition. Superior noted in an internal
     business presentation that “barriers to entry are high.” Likewise, Canexus observed that
     barriers to entry are “significant” and that
                  Constructing a new sodium chlorate manufacturing facility is expensive and
     time-consuming, making entry unlikely in this market characterized by declining
     demand. The newest sodium chlorate facility in North America opened in 2002.
     Similarly, expansion by the remaining firms sufficient to offset the Acquisition’s
     anticompetitive effects is unlikely. Since 2005, the sodium chlorate industry has
     removed capacity, not added it.

5.   Respondents cannot show cognizable efficiencies that would offset the likely and
     substantial competitive harm from the Acquisition.

                                   II.     JURISDICTION

6.   Respondents are, and at all relevant times have been, engaged in commerce or in
     activities affecting “commerce” as defined in Section 4 of the FTC Act, 15 U.S.C. § 44,
     and Section 1 of the Clayton Act, 15 U.S.C. § 12.

7.   The Acquisition constitutes an acquisition subject to Section 7 of the Clayton Act, 15
     U.S.C. § 18.

                                   III.    RESPONDENTS

8.   Superior is a publicly traded company based in Toronto, Ontario. It divides its business
     into three operating segments: (1) Specialty Chemicals, sold under the ERCO brand
     name; (2) Energy Services; and (3) Construction Products Distribution. In 2014,
     Superior had C$3.976 billion in global sales. The ERCO business, which manufactures
     and sells sodium chlorate and chlor-alkali chemicals, generated C$652 million in revenue
     in 2014, with the North American sodium chlorate business generating C$382 million in
     revenue. Superior owns six sodium chlorate plants in North America: five in Canada,
     and one in the United States.



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9.    Canexus is a publicly traded chemical company based in Calgary, Alberta. It reported
      total 2014 revenue of C$539 million, with sodium chlorate accounting for revenue of
      C$233 million. Canexus operates three sodium chlorate plants in Canada. Its Brandon,
      Manitoba facility is by far the largest and the lowest-cost sodium chlorate plant in North
      America.

                                  IV.     THE ACQUISITION

10.   Under an agreement dated October 5, 2015 (“Acquisition Agreement”), Superior
      proposes to acquire all of the outstanding shares of Canexus in a transaction valued at
      $982 million, including the assumption of $618 million in debt.

                                    V.      BACKGROUND

                                        A. Sodium Chlorate

11.   Sodium chlorate is a commodity chemical, manufactured by running electric current
      through purified salt water. It can be produced in either crystal or solution form. The
      vast majority of sodium chlorate sold in North America is in crystal form.

12.   Sodium chlorate is widely used as a key process-chemical for bleaching wood pulp,
      which accounts for more than 90 percent of North American chlorate consumption. Pulp
      mills perform on-site conversion of sodium chlorate into chlorine dioxide — the actual
      bleaching agent. Because chlorine dioxide is volatile and expensive to ship and handle,
      most mills must produce it on-site. In turn, bleached pulp is the foundation of a variety
      of paper products, including coated sheet paper, tissues, and diaper liners.

13.   Producers mainly ship sodium chlorate crystal by rail or truck, though a few customers
      located adjacent to sodium chlorate plants can also receive the solution form by pipeline.
      Industry practice is for producers to quote delivered prices. The largest cost components
      of sodium chlorate are electricity, which accounts for approximately 70-80 percent of
      production costs, salt, and freight.

                       B. Market Participants and Industry Dynamics

14.   Over the past decade, the North American sodium chlorate industry has experienced
      declining demand and capacity rationalization because of lower demand for paper
      products.

15.   Because pulp and paper manufacturing is the primary end use for sodium chlorate, the
      decline in demand for paper in the digital age has caused a corresponding decline in
      demand for sodium chlorate. As Superior explained in an internal business document,
      sodium chlorate producers have responded to declining demand by removing capacity
      from the market and increasing exports in order to protect prices and producer profits:



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             [T]he market has adjusted to demand reduction with supply side
             management. Production capacity has been removed from the
             market as demand decreased. Additionally an increasing amount of
             sodium chlorate is being exported from North America to the
             extent that II     of the Noith American production is now
             exported. . . . Despite the declining market, producers have
             consistently achieved growing and stable profit mai-gins ...

16.   As Superior's own documents state, the sodium chlorate market is an "oligopoly" with
      three "dominant market players" : Superior, Canexus, and Akzo. The two smaller players
      - Kemira and Chemtrade - have much less capacity and a limited effect on
      competition.

17.   Although 70 percent ofN01th American production capacity is located in Canada, U.S.
      customers account for roughly 75 percent of North American chlorate sales. There is no
      production capacity or meaningfol consumption of sodium chlorate in Mexico.

18.   Superior operates five sodium chlorate plants in Canada (Buckingham, Quebec;
      Vancouver, British Columbia; Grand Prairie, Albeita; Hargrave, Manitoba; and
      Saskatoon, Saskatchewan) and one in the U.S. (Valdosta, Georgia), with an overall
      capacity of-          metric tons. In addition to the Notth American sales from these
                                               I
      facilities, Superior exp01ts approximately     percent of its total annual production to
      Europe, Asia, and South America. Since 2006, Superior has closed chlorate plants in
      Brnderheim, Alberta, and Thunder Bay, Ontario, and contributed to the closure of fo1mer
      competitor Tronox' s plant in Hamilton, Mississippi.

19.   Canexus operates tluee plants in Canada (Brandon, Manitoba; Beauharnois, Quebec; and
      Nanaimo, British Col~ith an overall capacity of-                     metric tons. At a
      production capacity of-           metric tons, Canexus's B~plant is by far the largest,
      lowest-cost plant in Notih America. Brandon's position as the lowest-cost production
      facility in Notih America is the result of its operating in Manitoba, the lowest-cost
      electricity jurisdiction in No1th America, and of its significant economies of scale.
      Canexus ships from Brandon to customers throughout Notih America. Its two other
       lants are smaller and hio ier cost. Canexus ex 01ts some sodium chlorate -
                                                                               . Since 2007,
      Canexus has closed chlorate plants at Amherstburg, Ontario, and Bmderheim, Albe1ta.

20.   Akzo, under the brand name Eka, operates two sodium chlorate plants in Canada (Magog,
      Quebec and Valleyfield, Quebec) and two in the U.S. (Columbus, Mississippi and Moses
      Lake, Washin!rton , with an overall ractical ca aci of




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21.   Kemira is the bigger of the two smallest competitors. It operates two plants in the
      southeast U.S. (Augusta, Geor ia and Eastover, South Carolina , with an overall capacity
      of         metric tons.




22.




23.   In 2013, Superior entered into an agreement with sodium chlorate producer Tronox,
      whose only N01th American sodium chlorate facility was in Hamilton, Mississippi.
      Under the agreement, Superior paid Tronox for the exclusive right to purchase all of
      Tronox 's sodium chlorate production and customer contracts. Therefore, from 2013-
      2015 , Superior was the exclusive seller of sodium chlorate produced by Tronox.
      Superior's goal, stated both internally and to investors, was to use the agreement it
      entered with Tronox to "help reduce [the] North American supply" of sodium chlorate in
      order to make the market "more conducive to price increase[s]." Last year, Superior
      announced that it was electing toc a s e no volume from Tronox in 2016, meaning that
      Superior is paying Tronox about -        million to produce no sodium chlorate. Tronox
      responded by closing its facility and exiting the market at the end of2015, with Superior
      assisting Tronox in decommissioning the plant.

                          VI.     RELEVANT PRODUCT MARKET

24.   The relevant product ma1·ket in which to analyze the Acquisition's effects is the
      manufacture and sale of sodium chlorate. Superior describes sodium chlorate as ''the
      technology of choice for pulp bleaching." Customers (paper mills) have no viable
      substitute for sodium chlorate in the bleaching process, and could not realistically switch
      to other products in the face of a small but significant and non-transit01y increase in price
      ("SSNIP") for sodium chlorate.

25.   Other products do not constrain the price of sodium chlorate. Customers play sodium
      chlorate producers against each other to obtain lower pricing and better contractual tenns.
      Superior's outgoing vice president of its sodium chlorate business testified that customers
      rarely threaten to switch away from sodium chlorate when facing a price increase, and
      that never in his mem01y had Superior actually lowered its price or offered better te1ms to
      any customer in direct response to a threat to substitute another chemical or processes for
      sodium chlorate. Customers also state that they do not threaten to switch to alternative
      products or processes.


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26.   Respondents themselves recognize that other products are not meaningful substitutes for
      sodium chlorate. Canexus’s business documents stated that demand for sodium chlorate
      is “fairly price inelastic” and that there are “no economically viable substitutes” for
      sodium chlorate in the pulp bleaching process. Superior similarly stated in its internal
      business documents that “demand is inelastic.”

                       VII.   RELEVANT GEOGRAPHIC MARKET

27.   The relevant geographic market in which to assess the Acquisition is North America.
      Customers in the U.S. account for roughly 75 percent of all North American chlorate
      sales, and receive product from plants throughout both the U.S. and Canada. North
      American freight costs are low, typically accounting for approximately 10 percent of the
      delivered price, which allows North American plants to profitably ship to customers
      throughout the continent.

28.   While some North American chlorate producers export sodium chlorate outside of the
      North American market, almost no sodium chlorate is imported. Customers report that
      imports are prohibitively expensive and complicated by special handling requirements —
      limiting their realistic sourcing options to North American producers.

29.   Respondents operate their plants as part of an integrated North American supply network,
      optimizing supply across multiple plants and customers. Customers’ supply contracts are
      not tied to specific plants. Although there is substantial variability in pricing across
      customers, there are no persistent regional pricing patterns. Consistent with this, the
      Respondents’ internal business documents consistently refer to a “North American”
      sodium chlorate market.

30.   Indeed, documentary evidence and testimony make clear that industry participants
      develop strategies, take actions, and understand pricing dynamics to operate at the North
      American level. For example, an internal Superior presentation discussed “North
      American Sodium Chlorate Supply and Demand,” and noted that “[e]xports are critical to
      maintaining North American balance.” On a Superior earnings call, Superior’s CEO
      explained why it was choosing not to sell any more Tronox chlorate: “The potential to
      remove 130,000 ton of sodium chlorate supply from the North American market would
      largely balance the North American supply and demand fundamentals, which should
      provide Superior an improved opportunity to recover production costs.” Likewise, in
      describing its competitive position, Canexus stated, “The North American sodium
      chlorate market is efficient and favors low cost producers … [C]ost curve positioning is
      paramount, as low cost plants compete most effectively on a delivered cost basis across
      North America.” Canexus’ Vice President of Sales and Marketing testified under oath
      that Canexus “look[s] at the market more in a continental basis, than a regional basis.”




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      VIII. MARKET CONCENTRATION AND THE ACQUISITION’S PRESUMPTIVE
                                ILLEGALITY

31.     Post-acquisition, the sodium chlorate market in North America would be highly
        concentrated, with Superior alone accounting for more than 50 percent of market share by
        any measure (i.e., capacity, sales volume, or sales revenue), and two firms, Superior and
        Akzo, controlling more than 80 percent of the market.

32.     The Merger Guidelines and courts measure concentration using the Herfindahl-
        Hirschman Index (“HHI”). The HHI is calculated by totaling the squares of the market
        shares of each firm in the relevant market. Under the Merger Guidelines, a merger is
        presumed likely to create or enhance market power—and is presumptively illegal—when
        the post-merger HHI exceeds 2,500 and the merger increases the HHI by more than 200
        points.

33.     Because sodium chlorate is a homogenous, commodity chemical product, relative
        production capacities are the best measure of market shares. Whether measured by
        production capacity, production volume, or sales revenue, however, Superior’s
        acquisition of Canexus would result in a post-merger HHI exceeding 3,800, with an
        increase in the HHI of more than 1,300. Thus, by any measurement, the acquisition
        would result in concentration well above the amount necessary to establish a presumption
        of competitive harm.

34.     The acquisition is presumptively unlawful under relevant case law and the Merger
        Guidelines.

      IX.    THE ACQUISITION WOULD INCREASE SUPERIOR’S INCENTIVE AND
                            ABILITY TO CURTAIL OUTPUT

35.     The Acquisition is likely to cause output curtailment. In Superior’s own words, “[i]n an
        Oligopoly, Supply Side management is the key to maintaining profitability.” Canexus
        identifies “excess capacity which is impeding pricing appreciation for producers”
                                                       Allowing Superior to acquire Canexus
        would increase Superior’s incentive and ability to decrease output, thus leading to higher
        prices.

36.     Respondents’ documents make clear the relationship between available sodium chlorate
        capacity and prices: when competitors have underutilized capacity, competition
        intensifies and prices either stagnate or fall, but when supply becomes tight, competition
        softens and prices increase. For example, in 2013, Superior’s CEO informed investors
        that a “small supply demand [im]balance in chlorate has resulted in negative overall
        pressure on selling prices.” Similarly, in an internal planning document Canexus
        observed that “[t]he North American chlorate industry requires higher operating rates
               in order to achieve upward pricing momentum.” Given this correlation,
        Respondents closely monitor North American industry capacity utilization.



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37.   Superior has a history of attempting to use output curtailment as a means to support
      higher prices. These efforts include reducing production, increasing exports from North
      America, closing sodium chlorate production facilities, and shutting down production
      lines.

38.   Curtailing output at a sodium chlorate plant can be accomplished simply by turning down
      a dial that controls electric current. Individual lines and entire plants can be shut down
      for periods as short as only a few hours at a time. Superior’s documents show that
      Superior has curtailed output at its plants to support higher pricing. For instance, in May
      2013 the President of Superior’s ERCO business wrote in an internal email, “the market
      is declining and if we do not take steps to restructure the supply side, the result will be
      reduced volume or price,” and that Superior felt that “reduced volume to maintain pricing
      is the prudent path to take.” In February 2015, Superior’s CEO explained that given the
      “race to the bottom” pricing by some of its competitors, Superior was reducing capacity
      in 2015 and intended to “continue on that pace into the 2016 years and on.”

39.   Increasing exports can also serve as a means of limiting supply to North American
      customers. Superior views exports as “critical” to maintaining a balanced market in
      North America, and uses exports as additional means of supporting pricing in North
      America. For example, Superior observed in internal documents that it             “have
      always used exports as a means to maintain an equilibrium in the market” and that its
      pricing has benefited from “tightening supply caused by greater exports and curtailed
      production.” Canexus, on the other hand,


40.   Since 2005, Superior, Canexus, and Akzo each has permanently removed capacity from
      the market. The smaller producers, Kemira and Chemtrade, have not followed suit, but
      as Superior recognized in an internal presentation, these smaller players “cannot curtail
      without exiting the business.”

41.   When Superior has removed capacity from the market, it has done so with the clear
      expectation that prices will increase as a result. For example, in a board proposal,
      Superior stated that its 2005 announcement that it was closing its Thunder Bay facility
      would “prepare the market in advance for [a] planned, very significant, sodium chlorate
      price increase announcement” and that the reduction in capacity would “permit the
      increase of prices in the range of $50 per [metric ton].”

42.   Superior’s most recent initiative to reduce North American capacity was its purchase
      agreement with sodium chlorate producer Tronox. That agreement culminated in
      Superior electing to purchase no volume from Tronox in 2016 (and paying Tronox
      million not to produce any sodium chlorate), and assisting Tronox with decommissioning
      its plant at the end of 2015. Superior made clear that a purpose of the Tronox agreement
      was to allow Superior to manage North American chlorate supply in order to support
      higher prices. An internal Superior document dating from the inception of the Tronox
      agreement in 2013 stated that, “[t]hrough management of the Tronox arrangement,
      [Superior] will bring the Sodium Chlorate market back into equilibrium, improving

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      earnings through its pricing impact." Superior's senior executives likewise infonned
      investors of its intention to reduce volumes under the Tronox agreement in order to
      "reduce No1ih American supply" of sodium chlorate so that "the market should be more
      conducive to price increase[s] ." Ultimately, Superior elected not to buy any volume from
      Tronox in 2016 in expectation that this would lead the Tronox facility to close, thereby
      increasing industry capacity utilization and positioning the company for price increases.
      Superior went so far as to info1m investors that it expected rice increases to occur in
      2016 as a result of Tronox's exit. Contem oraneous              Canexus business



43.   Allowing Superior, which is already focused on managing its capacity in light of overall
      market-wide capacity, to acquire one of the other two large chlorate producers would
      increase the likelihood of future output reductions. Consistent with Merger Guidelines §
      6.3, this merger of homogenous-good producers is likely to incentivize the merged entity
      to engage in unilateral output cmiailment because:

      •    the merged film would have a high market share (more than 50 percent by any
           measure);

      •    the merged film would have relatively little output aheady committed at fixed pricing
           (many contracts open each year and many allow for price escalations);

      •    the margin on cmiailed output would be relatively low (the merged entity would have
           a polifolio t11at would include several of the higher-cost plants in the market);

      •    the supply responses of rivals would be relatively small (capacity constraints quickly
           bind competitors, and ent1y and/or expansion is slow, expensive, and unlikely); and

      •    the market elasticity of demand is relatively low (the Respondents themselves assume
           demand to be price-inelastic).

44.   Consistent with this, Superior's documents indicate a desire to cmiail output post-
      Acquisition. As early as 2009, when Superior first contemplated a possible merger with
      Canexus, it listed among the benefits of the merger that "[sJome of the smaller plants
      could be rationalized." In 2014, an internal email among Superior management
      explained that "[t]he picture w~ on the chlorate market has [our CEO] thinking
      about the Canexus merger a n d - high cost plants." In the fall of 2014, Superior's
      CEO told the Chaiiman of Canexus 's Board that he viewed a merger with Canexus as a
      means of                          rationalization in the market.

          X.     THE ACQUISITION WOULD INCREASE THE LIKELIHOOD OF
                          ANTICOMPETITIVE COORDINATION

45.   The sodium chlorate market has a number of characteristics that make it vulnerable to
      coordii1ation, including significant transparency into competitive activities, oppo1tunities
      for communication between competitors, and strong interdependence among competitors.

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      Allowing Superior to acquire Canexus would make anticompetitive coordination more
      likely going fo1ward by eliminating a large, low-cost, uniquely dismptive competitor.
      Post-Acquisition, the onl remainina ma'or su liers of sodium chlorate would be
      Su erior and Akzo,


46.   Sodilllll chlorate is a homogenous product with a market characterized by declining
      demand, stable market shares, and high baITiers to entry. fu addition, suppliers have
      considerable transparency into the businesses of their com etitors. Com etitors track a
      wealth of info1mation about each other, includin


                      Competitively sensitive info1mation is accessible to competitors through
      pu 1s ie pnce increase announcements and public statements such as earnings calls.
      Competitors also obtain com etitivel sensitive inf01mation from a varie of other
      sources, including

47.




48.




                                              pnce mcreases,
                                   . fu the same email exchange,
      Superior's head of chlorate sales to provide information about the average price increase
      Superior had achieved on its fo1mula-based accounts, and he res onded that the should
      talk via hone.


      confnming that at least some of the pricing information received           was not
      public, Superior's management included the info1mation in a report circu ated to its
      Board of Directors.



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49.

                                                                                Respondents'
      or mary course ocmnents re ect a esire to suppo1t competitors' efforts to raise prices,
      and show that Respondents give carefol consideration to how their potential bids might
      dismpt market stability. For instance, in internal emails, Canexus executives express
      concern about inciting "price wars" with competitors. Superior's internal documents ai-e
      blunt about the speed and certainty with which producers respond to each other's actions,
      observing that "[t]he market is dominated by a small number of players ... the actions of
      any one fom will affect overall market conditions and spm[s] an illllllediate response by
      other competitors."

50.   Removing Canexus from a market that is akeady vulnerable to coordination would make
      coordination more likely going forward. Despite its concerns about creating market
      instability, Canexus 's large, low-cost Brandon facility has enabled it to be a frequently
      aggressive competitor who is uniquely able to disrnpt potential coordination:

      •




      •




      •


      •




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      •


      •



51.   Contemporaneous business documents from chlorate suppliers reflect the importance of
      Canexus as an independent competitor. In its own business documents, Canexus
      observed that it has the "[s ]trongest competitive positioning in No1ih America due to
      Brandon" and that it "can compete on price with an other producer in No1ih America
      and remain highly profitable." Su                          describe Canexus as aa!ITessive
      and a constraint on



52.   In the period leading up to the announcement of the proposed Acquisition, Superior
      documents reflect a growing frustration and concern about the ability of Canexus to
      dismpt sales patterns and undermine price increases:

      •   In July 2013, the President of Superior's ERCO business complained about Canexus
          hying to steal Superior accounts: "We have seen [Canexus] ve1y aggressively hying
          to renew [our] contracts coming open at year end with lower pricing."

      •   In July 2014, the President of Superior's ERCO business told the President of
          Superior, "My long tenn wony is that [Canexus] will significantly expand
          Brandon . .. [That] could destroy the chlorate business model."

      •   In a September 2014 email to fellow Board members, Superior's CEO wrote,
          "Canexus pricing of chlorate has been -            lower than ours. We have
          announced price increases and they di~w. Canexus should be gaining
          on margins since they are not [hedged] instead of making the extra margins they
          are selling at lower prices. They a1·e really out of touch with the market. They
          are price takers instead of being mai-keters."

      •   The next week, a senior executive at Superior lamented that Canexus was
          "disrnptive in the market" noting that Canexus was "dropping prices for volume. "
          Superior's CEO echoed these sentiments in an October 2014 earnings call when
          he told investors that the competition (Canexus) "just wants to fill up their plant
          and are not really looking at pricing properly to maximize their opp01tunity." On
          the same earnings call, Superior's CFO noted that Canexus was "being very, ve1y
          aggressive" which was "causing pressure on some of the pricing in chlorate."


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      •   Subsequently, in November 2014, the president of Superior's ERCO business
          expressed further frustration with Canexus' disrnptive approach to Superior' s
          CEO, noting "I can' t believe Canexus is being so aggressive[ ... ] ERCO raises
          the price only to have Canexus come in and mess things up. "

      •   In May 2015, while anticipating making price increase announcements for the
          second half of2015 and 2016, Superior's CEO considered holding off making
          such announcements as he "wonder[ed] if Canexus will be more aggressive if so
          we should wait to see what they will do."

53.   Testimony from Superior's CEO given under oath underscores the impact that Ca.nexus
      has in the market. Superior's CEO testified that Canexus ' lower pricing, failure to follow
      price increases, and passing foreign exchange gains through to customers all prevent
      Superior from raising chlorate prices to its customers.

54.   By the summer of2015, Superior's concern about Canexus 's unique disruptive potential
      motivated it to pursue the present Acquisition. At that time, Superior' s CEO fretted in an
      email that Canexus was "reducing prices looks like they have no sense of the Business."
      In response, Superior's Treasurer suggested that it might make sense to pursue an
      acquisition of Canexus "if they are going to continue to be so inational." By July,
      Superior was in negotiations to acquire Canexus.

55.   Post-Acquisition, Superior's remaining competitors would be unlike!
      Canexus' s uni uel disrn tive role in the market.




56.



                                                                         In 2003 ,      o requested
      immunity from the European Commission for violations of European competition laws
      for attempting to raise sodium chlorate prices by setting target prices, allocating customer
      volumes, and exchanging infonnation with European sodium chlorate competitors.




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                     XI.    LACK OF COUNTERVAILING FACTORS

                             A. Barriers to Entry and Expansion

57.   Respondents cannot demonstrate that new entry or expansion by existing firms would be
      timely, likely, or sufficient to offset the anticompetitive effects of the Acquisition.

58.   As Superior recognizes in its own business documents, there are high barriers to entry in
      the sodium chlorate market. Building a new sodium chlorate plant would take multiple
      years and a large capital investment that Canexus estimates would exceed                .
      Entry is unlikely given the ongoing decline in demand for sodium chlorate. Over the past
      ten years, multiple sodium chlorate plants have closed, but no new plants have been built.
      Expansion by the remaining firms post-Acquisition that would defeat anticompetitive
      effects is unlikely.

                                         B. Efficiencies

59.   Respondents cannot demonstrate cognizable efficiencies that would be sufficient to rebut
      the strong presumption and evidence that the Acquisition likely would substantially
      lessen competition in the North American market for sodium chlorate.

                                      XII.   VIOLATION

                                    Count I – Illegal Agreement

60.   The allegations of Paragraphs 1 through 59 above are incorporated by reference as
      though fully set forth.

61.   The Acquisition Agreement constitutes an unfair method of competition in violation of
      Section 5 of the FTC Act, as amended, 15 U.S.C. § 45.

                                   Count II—Illegal Acquisition

62.   The allegations of Paragraphs 1 through 59 above are incorporated by reference as
      though fully set forth.

63.   The Acquisition, if consummated, may substantially lessen competition in the relevant
      market in violation of Section 7 of the Clayton Act, as amended, 15 U.S.C. § 18, and is
      an unfair method of competition in violation of Section 5 of the FTC Act, as amended,
      15 U.S.C. § 45.




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                                            NOTICE

        Notice is hereby given to the Respondents that the twenty-ninth day of November, 2016,
at 10 a.m., is hereby fixed as the time, and the Federal Trade Commission offices at 600
Pennsylvania Avenue, N.W., Room 532, Washington, D.C. 20580, as the place, when and where
an evidentiary hearing will be had before an Administrative Law Judge of the Federal Trade
Commission, on the charges set forth in this complaint, at which time and place you will have
the right under the Federal Trade Commission Act and the Clayton Act to appear and show cause
why an order should not be entered requiring you to cease and desist from the violations of law
charged in the complaint.

        You are notified that the opportunity is afforded you to file with the Commission an
answer to this complaint on or before the fourteenth (14th) day after service of it upon you. An
answer in which the allegations of the complaint are contested shall contain a concise statement
of the facts constituting each ground of defense; and specific admission, denial, or explanation of
each fact alleged in the complaint or, if you are without knowledge thereof, a statement to that
effect. Allegations of the complaint not thus answered shall be deemed to have been admitted.
If you elect not to contest the allegations of fact set forth in the complaint, the answer shall
consist of a statement that you admit all of the material facts to be true. Such an answer shall
constitute a waiver of hearings as to the facts alleged in the complaint and, together with the
complaint, will provide a record basis on which the Commission shall issue a final decision
containing appropriate findings and conclusions and a final order disposing of the proceeding. In
such answer, you may, however, reserve the right to submit proposed findings and conclusions
under Rule 3.46 of the Commission’s Rules of Practice for Adjudicative Proceedings.

        Failure to file an answer within the time above provided shall be deemed to constitute a
waiver of your right to appear and to contest the allegations of the complaint and shall authorize
the Commission, without further notice to you, to find the facts to be as alleged in the complaint
and to enter a final decision containing appropriate findings and conclusions, and a final order
disposing of the proceeding.

        The Administrative Law Judge shall hold a prehearing scheduling conference not later
than ten (10) days after the Respondents file their answers. Unless otherwise directed by the
Administrative Law Judge, the scheduling conference and further proceedings will take place at
the Federal Trade Commission, 600 Pennsylvania Avenue, N.W., Room 532, Washington, D.C.
20580. Rule 3.21(a) requires a meeting of the parties’ counsel as early as practicable before the
pre-hearing scheduling conference (but in any event no later than five (5) days after the
Respondents file their answers). Rule 3.31(b) obligates counsel for each party, within five
(5) days of receiving the Respondents’ answers, to make certain initial disclosures without
awaiting a discovery request.




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                          NOTICE OF CONTEMPLATED RELIEF

       Should the Commission conclude from the record developed in any adjudicative
proceedings in this matter that the Merger challenged in this proceeding violates Section 5 of the
Federal Trade Commission Act, as amended, and/or Section 7 of the Clayton Act, as amended,
the Commission may order such relief against Respondents as is supported by the record and is
necessary and appropriate, including, but not limited to:

        1.     If the Acquisition is consummated, divestiture or reconstitution of all associated
               and necessary assets, in a manner that restores two or more distinct and separate,
               viable and independent businesses in the relevant market, with the ability to offer
               such products and services as Superior and Canexus were offering and planning to
               offer prior to the Acquisition.

        2.     A prohibition against any transaction between Superior and Canexus that
               combines their businesses in the relevant market, except as may be approved by
               the Commission.

        3.     A requirement that, for a period of time, Superior and Canexus provide prior
               notice to the Commission of acquisitions, mergers, consolidations, or any other
               combinations of their businesses in the relevant market with any other company
               operating in the relevant markets.

        4.     A requirement to file periodic compliance reports with the Commission.

        5.     Any other relief appropriate to correct or remedy the anticompetitive effects of the
               transaction or to restore Canexus as a viable, independent competitor in the
               relevant market.

       IN WITNESS WHEREOF, the Federal Trade Commission has caused this complaint to
be signed by its Secretary and its official seal to be hereto affixed, at Washington, D.C., this
twenty-seventh day of June, 2016.

        By the Commission.



                                             Donald S. Clark
                                             Secretary
SEAL:




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